Case 2:04-cV-02199-SHI\/|-tmp Document 24 Filed 06/09/05 Page 1 of 3 Page|D 40

 

IN THE UNITED STATES DlSTRlCT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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UNITED sTATEs oF AMERICA, ct§’ai<,“uis.“b:éi*°.' dr
W_ n op m Mr;t,i@a¢s
Plai_miff, Civii No. 04-2199-Ma

V.

One 2000 Yarnaha Big Bear 4-Wheeler,
VIN 0133576 with all Appurtenances and
Attachments Thereon, et al,

Defendants.

 

ORDER GRANTING STAY OF PROCEEDINGS
PENI)ING THE OUTCOME OF RELATED CRIMINAL CASE

 

Before the Court is the government’s motion to stay proceedings in the above-styled case
pending the outcome of the related criminal case of United States v. Charles Price, Elishah Moody,
Lal, No. 05-20177-1\/Ia in the Western District of Tennessee. The Court finds that good cause
appears for the Stay requested by the government pursuant to 18 U.S.C. § 981 (g) in that it is probable
that proceeding with civil discovery in this case will adversely affect the ability of the government
to prosecute the related criminal case.

IT IS HEREBY ORDERED that the above-styled case is STAYED until United States v.
Price, Moody, et al has been disposed of at the district court level by Way of the entry ofjudgment,
or until this Order is modified by further orders of the Court, except that the government shall answer

any interrogatories already propounded by Clairnant prior to the entry of this Order.

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with Flu!e 58 and/or 79(3) FF\GP on

Case 2:04-cV-02199-SHI\/|-tmp Document 24 Filed 06/09/05 Page 2 of 3 Page|D 41

IT IS FURTHER ORDERED that plaintiff shall notify the Court of the judgment no later

than fourteen (14) days following its entry.

 

 

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This <6 day Or g u'~v. ,2005.
ibt M- Pln,&‘w\
United States Distriet» Judge
de`st-r$(?
APPRovED;

TERRELL L. HARRIS
United States Attorney

yaw/

ristopher E Cotten
Assistant United States Attorney

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CV-02199 was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

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Honorable Sarnuel Mays
US DISTRICT COURT

